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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                  GREENWOOD DIVISION

United States of America,                   :       CR. NO.: 8:18-cr-00412
                                            :
       -vs-                                 :
                                            :       REQUEST PURSUANT TO
Catherine Prosser                           :       FED. R. CRIM. PRO. 16 AND
              Defendant.                    :       BRADY V. MARYLAND


       Defendant above named, by and through the undersigned attorney, Lawrence W. Crane,

respectfully requests that Julius N. Richardson, Assistant United States Attorney, produce or

otherwise make available to the Defense all documents, tangible objects, reports and examinations

and tests, witness statements, physical evidence and any other evidence subject to disclosure

pursuant the Federal Rules of Criminal Procedure, Rule 16.

       Defendant further requests that Assistant United States Attorney Richardson produce all

evidence favorable to the Defendant, subject to disclosure by Brady v. Maryland, 373 U.S. 83

(1963) and its progeny.

       This request is a continuing request for all such discoverable information, as it becomes

known to the Assistant United States Attorney or any prosecution agents.



                                                    Respectfully submitted,

                                                    S/Lawrence W. Crane
                                                    Lawrence W. Crane
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